              Case 2:20-cr-00185-BRM Document 544 Filed 01/05/24 Page 1 of 1 PageID: 2739
AO 154 (10103) Substitution of Attorney



                                          UNITED STATES DISTRICT COURT
                                                                District of                                     NEW JERSEY


           UNITED STATES OF AMERICA
                                                                              CONSENT ORDER GRANTING
                                              Plaintiff (s).                  SUBSTITUTION OF ATTORNEY
                             V.
                 DAVINE CAMPBELL
                                                                              CASE NUMBER:                2:2020CR00 185
                                           Defendant (s),

           Notice is hereby given that, subject to approval by the court,             Davine Campbell                                        substitutes
                                                                                                          (Party (s) Name)
 Dan Hoizaptel, Esq.                                                          ,State Bar No.        174052017                   as counsel of record in
                           (Name of New Attorney)

place of       Stacy Biancamano, Esq. I Biancamano Law LLC
                                                          (Name of Attorney (s) Withdrawing Appearance)



Contact information for new counsel is as follows:
           Firm Name:                 Holzapfel Law LLC

           Address:                   3121 Atlantic Avenue, First Floor, Allenwood, NJ 08720

         Telephone:                   (732) 804-9944                                 Facsimile
           E-Mail (Optional):         Dan@HolzapfelLawLLC.com


I consent to the above substitution.
Date:                         12/29/2023                                                              s/ Davi’ie Cani’pbett
                                                                                                              (Signature of Party (a))

I consent to being substituted.
Date:                         12/29/2023                                     x
                                                                                                     j/Stacg Kiancaniano
                                                                                                      (Signature’’f Former Attorney (s))

I consent to the above substitution.
Date:                         12/29/2023                                                              s/am f/otzatet
                                                                                                           (stgnarnre of New Attorney)



The substitution of attorney is hereby approved and so ORDERED.


                                                                                                   g,:
                                                                                                                                         A

                      January 5, 2024
Date:
                                                                                                                      Judge


jNote: A separate consent order of substitution must be filed by each new attorney wishing to enter an appearance.I
